      Case 4:20-cr-00455 Document 34 Filed on 03/29/21 in TXSD Page 1 of 4




                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA                    §
                                            §
VS.                                         §       Criminal Action H-20-CR-00455
                                            §
ZHENGDONG CHENG                             §

                   ZHENGDONG CHENG’S 2ND SUPPLEMENT TO
                 MOTION FOR REVOCATION OF DETENTION ORDER

TO THE HONORABLE UNITED STATES DISTRICT JUDGE ANDREW S. HANEN:

       ZHENDONG CHENG, Defendant, (“Dr. Cheng”) supplements his Opposed Motion for

Revocation of Detention Order and shows:

       Attached is a letter from the Chair of the Committee on Human Rights of the National

Academies of Sciences, Engineering, and Medicine in support of Dr. Cheng. See Ex. A.

                                         CONCLUSION

       Dr. Cheng requests the Court set this matter for a hearing, to grant the Motion, revoke the

detention order, and release him upon appropriate conditions.

                                                    Respectfully Submitted,

                                                    HILDER & ASSOCIATES, P.C.

                                                    /S/ Q. Tate Williams__________________
                                                    Quentin Tate Williams
                                                    Texas Bar No. 24013760
                                                    Philip H. Hilder
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                                                1
      Case 4:20-cr-00455 Document 34 Filed on 03/29/21 in TXSD Page 2 of 4




                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing instrument has been served upon
the Assistant United States Attorney for the government herein, via ECF contemporaneous with
filing.

                                                      /S/ Q. Tate Williams__________________
                                                      Quentin Tate Williams




                                                  2
                       Case 4:20-cr-00455 Document 34 Filed on 03/29/21 in TXSD Page 3 of 4
                                                                                                           Exhibit "A," pg.1




COMMITTEE ON HUMAN RIGHTS
MARTIN CHALFIE†
                                          March 29, 2021
Chair
Columbia University
                                          Judge Andrew S. Hanen
MARY JANE WEST-EBERHARD                   US District Court
Vice Chair
Smithsonian Tropical Research Institute   515 Rusk Street
                                          Houston, Texas 77006
CHRIS BEYRER
Johns Hopkins University
                                          Your Honor:
JOHN CARLSON
Yale University
                                          I am writing to you as the Chair of the Committee on Human Rights (CHR)
CHRISTINE CASSEL
University of California, San Francisco   of the U.S. National Academies of Sciences, Engineering, and Medicine
                                          (National Academies) to express concern about our colleague, Dr.
MICHAEL CLEGG
University of California, Irvine          Zhengdong Cheng, a physicist and U.S. citizen formerly based at Texas
                                          A&M University who has been held for eight months without bond in a
CARLOS DEL RIO*
National Academy of Medicine              federal detention center in Houston. The CHR, a standing committee
Foreign Secretary                         composed of members of the National Academies and assisted by more than
VANESSA NORTHINGTON GAMBLE
                                          1,500 other Academy members, supports at-risk professional colleagues
The George Washington University          around the world.
JOHN HILDEBRAND*
National Academy of Sciences              It is our understanding that Dr. Cheng is facing criminal charges as a
Foreign Secretary
                                          consequence of having allegedly failed to provide accurate information about
JOHN KASSAKIAN                            his affiliations with Chinese institutions as required under a NASA grant.
Massachusetts Institute of Technology
                                          The CHR came to learn of Professor Cheng’s case from members of the
MICHAEL KATZ                              National Academies who have worked with him over the course of many
Columbia University
Stanford University                       years and respect him greatly. They, like our committee, are concerned
                                          about the possible overzealous targeting and profiling of scientists of Asian
ANTHONY LEGGETT†
University of Illinois at                 descent under the Department of Justice’s China Initiative. As I am sure you
Urbana-Champaign                          are aware, the China Initiative was established to counter threats to U.S.
ELAINE ORAN
                                          national security emanating from China, including economic espionage and
Texas A&M University                      theft of trade secrets. However, many of the researchers investigated and
ELSA REICHMANIS                           prosecuted under this initiative, like Dr. Cheng and numerous other scientists
Lehigh University                         of Asian descent, are facing substantial prison sentences not as a result of
JAMES M. TIEN*
                                          alleged national security offenses but instead due to alleged misstatements
National Academy of Engineering           and omissions during grant processes.
International Secretary

                                          Dr. Cheng is the only colleague of whom we are aware who is currently
† Nobel Laureate
 * ex officio member
                                          being held in pre-trial detention in connection with the China Initiative. We
                                          understand that Dr. Cheng’s eight-month detention has made it difficult for
The views expressed are those of the
Committee on Human Rights.                him to prepare an effective defense due to delayed communications between
                                          him and his lawyers. Such delays have been exceptionally problematic in his
                                          case given that his assistance is needed in reviewing the extensive evidence
                                          seized by U.S. authorities, much of which is in Chinese.


                                               500 Fifth Street, NW, Washington, DC 20001
                    Phone 202.334.3043 Fax 202.334.2225 E-mail chr@nas.edu www.nationalacademies.org/humanrights/
         Case 4:20-cr-00455 Document 34 Filed on 03/29/21 in TXSD Page 4 of 4
                                                                                            Exhibit "A," pg.2




Our committee’s concern regarding Dr. Cheng’s continued detention is heightened due to the dangers
presented by the ongoing pandemic. He has already contracted COVID-19 during his time in the
detention center, and he is at significant risk for re-infection, particularly due to the emergence of
COVID-19 variants.

We understand that Dr. Cheng has moved the court to revoke the detention order in his case and to
release him pending trial to a third party custodian with a secured bond, electronic monitoring, and other
conditions that the court deems appropriate. In light of the above-mentioned concerns regarding Dr.
Cheng’s detention and the detailed plan for his conditional release, we would be grateful for your
positive consideration of Dr. Cheng’s motion.

Thank you in advance for your kind attention to this important matter.

Yours sincerely,




Martin Chalfie, Ph.D.
(2008 Nobel Laureate, Chemistry)
